           Case 2:18-cv-00486-RAJ-BAT Document 49 Filed 10/20/20 Page 1 of 2




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 8                          UNITED STATES DISTRICT COURT
                           WESTERN DISTRICT OF WASHINGTON
 9                                   AT SEATTLE
10
     BOARDS OF TRUSTEES OF THE
11   NORTHWEST IRONWORKERS
     HEALTH AND SECURITY FUND,                        CASE NO. 2:18-cv-00486-RAJ-BAT
12
                              Plaintiffs,             ORDER
13
            v.
14
     WESTERN REBAR CONSULTING
15
     INC., d/b/a WESTERN INDUSTRIES,
16   INC., et al.,

17                            Defendants.

18         Having reviewed the Report and Recommendation of the Honorable Brian A.

19   Tsuchida, United States Magistrate Judge, any objections or responses to that, and the

20   remaining record, the Court finds and ORDERS:
21         (1)    The Court ADOPTS the Report and Recommendation.
22
           (2)    Plaintiffs’ motion to dismiss Defendants’ counterclaim (Dkt. 42) is
23
     DENIED.



     ORDER - 1
          Case 2:18-cv-00486-RAJ-BAT Document 49 Filed 10/20/20 Page 2 of 2




 1         (3)   The Clerk is directed to send copies of this Order to the parties and to Judge

 2   Tsuchida.
 3         Dated this 20th day of October, 2020.
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 5                                                  A
 6                                                  The Honorable Richard A. Jones
                                                    United States District Judge
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     ORDER - 2
